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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In Re:                                                    Chapter 13

Trevilyn Lee Jackson,                                     Case No. 19-54156-PMB
                                 Debtor.


Broker Solutions, Inc. dba New American
Funding, its successors or assigns,
                                                          Contested Matter
                                 Movant,

V.

Trevilyn Lee Jackson, Debtor, and Linda R
Jackson, Codebtor, and Melissa J. Davey,
Chapter 13 Trustee,

                                 Respondents.


                             NOTICE OF ASSIGNMENT OF HEARING

PLEASE TAKE NOTICE that Broker Solutions, Inc. dba New American Funding, has filed a

Motion for Relief from Stay and CoDebtor Stay and related papers with the Court seeking an order

granting relief from the automatic stay.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for Relief from

Stay and CoDebtor Stay in United States Bankruptcy Courthouse, Richard B. Russell Federal Building, 75 Ted

Turner Drive, SW, Atlanta, GA 30303, Courtroom 1202 at 1:30 P.M. on December 19, 2019. Your rights may

be affected by the Court's ruling on these pleadings. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. (If you do not have an

attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these pleadin

gs, or if you want the Court to consider your views, then you and/or your attorney must attend the hearing. Yo

u may file a written response to the pleading with the Clerk at the address stated below, but
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you are not required to do so. If you file a written response, you must attach a certificate stating when,

how and on whom (including addresses) you served the response. Mail or deliver your response so that it

is received by the Clerk at least two business days before the hearing. The address for the Clerk's Office

is: U.S. Bankruptcy Court, Richard B. Russell Federal Building, 75 Ted Turner Drive, SW, Room 1340,

Atlanta GA 30303. You must also mail a copy of your response to the undersigned at the address stated

below.

In the event a hearing cannot be held within thirty (30) days from the filing of said Motion, as required by

11 U.S.C. Section 362, Movant, by and through counsel, waives this requirement and agrees to the next

earliest possible date, as evidenced by the signature below. If a final decision is not rendered by the Court

within sixty (60) days of the date of the request, Movant waives the requirement that a final decision be

issued within that period.

The undersigned consents to the automatic stay remaining in effect with respect to Movant until the court

orders otherwise.


         November 18, 2019
Dated: ______________________________

                                                           Shapiro Pendergast & Hasty, LLP


                                                               /s/ Elizabeth Childers
                                                           ___________________________
                                                            Elizabeth Childers
                                                           Georgia Bar No. 143546
                                                           211 Perimeter Center Parkway, N.E.
                                                           Suite 300
                                                           Atlanta, GA 30346
                                                           Phone: 770-220-2535
                                                           Fax: 770-220-2665
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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In Re:                                                Chapter 13

Trevilyn Lee Jackson,                                 Case No. 19-54156-PMB
                               Debtor.


Broker Solutions, Inc. dba New American
Funding, its successors or assigns,
                                                      Contested Matter
                               Movant,

V.

Trevilyn Lee Jackson, Debtor, and Linda R
Jackson, Codebtor, and Melissa J. Davey,
Chapter 13 Trustee,

                               Respondents.


                        MOTION FOR RELIEF FROM STAY
                  AND MOTION FOR RELIEF FROM CODEBTOR STAY

         COMES NOW Broker Solutions, Inc. dba New American Funding, its successors or

assigns, ("Movant"), by and through its undersigned counsel, and alleges as follows:

                                                 1.

         The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362(d) and 1301

FRBP 4001(a), and the various other applicable provisions of the United States Bankruptcy

Code, Federal Rules of Bankruptcy Procedure, and the laws of the United States of America.
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                                                 2.

        Trevilyn Lee Jackson (hereinafter "Debtor") filed this proceeding under Chapter 13 of the

Bankruptcy Code on March 15, 2019 and remains in possession of the subject property under a

plan of arrangement to be confirmed by this Court.

                                                 3.

        Movant is the holder or servicer of a loan secured by certain real property now or

formerly known as 3616 Heritage Estates, Lithonia, GA 30038, in DeKalb County, GA. Copies

of the Security Deed and Assignments (if applicable) are attached hereto as Exhibit “A”. A copy

of Note is attached hereto as Exhibit “B”.

                                                 4.

        Movant alleges that the Debtor is in default to Movant under the terms of the loan

documents, having failed to make certain post-petition mortgage payments that have come due.

As of October 9, 2019, the estimated post-petition deficiency is $8,317.88 and consists of the

August 1, 2019 through October 1, 2019 payments at $2,463.46 each, attorney fees and costs in

the amount of $1,031.00, less the suspense balance in the amount of $103.50. An additional

payment will come due November 1, 2019 and on the 1st day of each month thereafter until the

loan is paid in full.

                                                 5.

        As of October 9, 2019, current unpaid principal balance due under the loan document is

$315,943.00. According to the Debtor(s) Schedule A/B, the property is currently valued at

$303,454.00.

                                                 6.
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       Based upon the foregoing facts, there is a lack of adequate protection in the subject

property. Movant shows that good cause exists to grant relief from the automatic stay of 11

U.S.C. § 362 and the CoDebtor stay of 11 U.S.C. § 1301.

                                                   7.

       Movant has incurred attorney’s fees and cost as a result of filing this motion. These fees

and cost are recoverable pursuant to the loan documents, and Movant seeks leave to recover

these fees and costs under the remedies available therein.

                                                   8.

       Movant requests that upon entry of an Order granting relief from the automatic stay of

Section 362 and the CoDebtor stay of 11 U.S.C. § 1301 said Order also instruct the Chapter 13

Trustee to cease disbursements on Movant’s Proof of Claim.

       WHEREFORE, Movant respectfully requests:

               a) That the automatic stay under 11 U.S.C. § 362 and the CoDebtor stay of 11

                   U.S.C. § 1301 be modified to allow Movant to pursue state remedies to

                   protect its security interest in the Property, including, but not limited to,

                   effectuating a foreclosure sale and gaining possession of the Property; to

                   contact the Debtor and CoDebtor via telephone or written correspondence to

                   discuss potential loan workout or loss mitigation opportunities; and to perform

                   property preservation as appropriate;

               b) That Movant's attorney's fees and costs incurred in filing and prosecuting this

                   Motion be recoverable as pursuant to the loan documents and remedies

                   available therein;

               c) That the fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) be waived;
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             d) That Movant be permitted to offer and provide Debtor with information

                regarding a potential forbearance agreement, loan modification, refinance

                agreement, or other loan workout/loss mitigation agreement, and to enter into

                such an agreement with Debtor;

             e) Movant prays, that in the event of an Order granting relief from the automatic

                stay of Section 362 said Order also instruct the Chapter 13 Trustee to cease

                disbursements on Movant’s Proof of Claim.

             f) For such other and further relief the Court deems just and proper.


Dated:   November 18, 2019
                                                  Shapiro Pendergast & Hasty, LLP


                                                      /s/ Elizabeth Childers
                                                  ___________________________
                                                  Elizabeth Childers
                                                  Georgia Bar No. 143546
                                                  211 Perimeter Center Parkway, N.E.
                                                  Suite 300
                                                  Atlanta, GA 30346
                                                  Phone: 770-220-2535
                                                  Fax: 770-220-2665
                                                  echilders@logs.com
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and correct copy of the within Notice of

Assignment of Hearing was served, together with a copy of the Motion for Relief from Stay filed

in this bankruptcy matter via electronic mail notice to parties, and their representatives, who are

ECF Filers and Consent Users, or by depositing a copy of same in the United States Mail,

postage prepaid, all other interested parties at the indicated addresses as follows:

Trevilyn Lee Jackson
3616 Heritage Estates
Lithonia, GA 30038

Linda R Jackson
3616 Heritage Estates
Lithonia, GA 30038

Howard P. Slomka
Slipakoff & Slomka, PC
se@myatllaw.com

Melissa J. Davey
Melissa J. Davey, Standing Ch 13 Trustee
mail@13trusteeatlanta.com


        November 18, 2019
Dated ___________________                              Shapiro Pendergast & Hasty, LLP


                                                          /s/ Elizabeth Childers
                                                       ___________________________
                                                       Elizabeth Childers
                                                       Georgia Bar No. 143546
                                                       211 Perimeter Center Parkway, N.E.
                                                       Suite 300
                                                       Atlanta, GA 30346
                                                       Phone: 770-220-2535
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